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         Exhibit A
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<Name>
<Address>
<City, State, Zip Code>
                                                                                  <Date>
Dear <Name>,

Notice of Data Breach

FabFitFun values your membership in our community and respects the privacy of your information, which is why
we are writing to let you know about a recent data security incident that may involve your personal information.
We previously sent an email regarding this incident and are providing this notice to potentially affected members
to call their attention to steps they can take to help protect themselves. We take the security of personal
information very seriously, and sincerely regret any concern this incident may cause.

What Happened?

Our technical team recently discovered that an unauthorized third party inserted malicious code on portions of
our website that may have enabled them to capture certain information in connection with customer sign ups.
Based on our forensic investigation, this incident concerns the new member sign up pages of our website during
the period between April 26, 2020 and May 14, 2020, and between May 22, 2020 and August 3, 2020. According
to our records, you signed up for FabFitFun during this timeframe, and your information therefore could have
been affected. Although we believe that only a subset of members who signed up during this period were affected,
we are notifying everyone that signed up during this timeframe as a precaution.

What Information was Involved?

This incident would have involved emails and FabFitFun passwords for customers that signed up using PayPal or
Apple Pay. For customers using credit or debit cards, the information involved would also have included name,
address, payment card account number, card expiration date, and card verification code. Please note that because
we do not collect highly sensitive personal information like Social Security Numbers, this type of information was
not affected by this incident.

What We are Doing

We took steps to address and contain this incident promptly after it was discovered. As soon as our technical team
identified the issue, we removed the malicious code and took steps to secure our website with the help of forensic
cybersecurity experts engaged to assist with our investigation. We have also reported the matter to law
enforcement and are cooperating with the investigation. While we are continuing to review and enhance our
security measures, we are confident that the issue has been resolved and will no longer affect transactions on our
website.

Although Social Security numbers and other highly sensitive personal information were not at risk in this incident,
as a precaution, we are making available to you one year of complimentary identity protection services from a
leading identity monitoring services company. These services help detect possible misuse of your personal
information and provide you with superior identity protection support focused on immediate identification and
resolution of identity theft. For more information about these services and instructions on completing the
enrollment process, please refer to the enrollment instructions included with this letter.

We are deeply appreciative that you have chosen to be a part of the FabFitFun community, and as a token of that
appreciation, we are also offering a $25 credit that can be used in an upcoming e-commerce sale. Information on
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how you can redeem the credit was sent to you via email. Please note that you must be a current FabFitFun
member to participate in our sales. You must also select, no later than December 31, 2020, the Winter sale to
which you would like the credit to apply and the credit will expire if not used in the sale selected.

What You Can Do

•   Activating the Complimentary Identity Protection Services. As outlined above, we are offering one year of
    identity theft protection and credit monitoring services at no charge to you. For more information about these
    services and instructions on completing the enrollment process, please refer to the “Information about
    Identity Theft Protection” reference guide attached to this letter. Note that you must complete the enrollment
    process by December 31, 2020.

•   Review Financial Account Statements. You should review credit and debit card account statements as soon
    as possible in order to determine if there are any discrepancies or unusual activity listed. We urge you to
    remain vigilant and continue to monitor statements for unusual activity going forward. If you see anything
    you do not recognize, you should immediately notify the issuer of the credit or debit card as well as the proper
    law enforcement authorities. In instances of payment card fraud, it is important to note that cardholders are
    typically not responsible for any fraudulent activity that is reported in a timely fashion.

•   Checking Credit Reports. Although Social Security Numbers and other highly sensitive personal information
    were not at risk in this incident, as a general practice, we recommend that you carefully check your credit
    reports for accounts you did not open or for inquiries from creditors you did not initiate. If you see anything
    you do not understand, call the credit agency immediately. If you find any suspicious activity on your credit
    reports, call your local police or sheriff's office, and file a police report for identity theft and get a copy of it.
    You may need to give copies of the police report to creditors to clear up your records.

•   Change Account Passwords. As a further precaution, we have initiated a password reset for all FabFitFun
    users. You may have already been prompted to create a new password for your account. If you have not
    already done so, please do so now. As a reminder, you should use a unique and “strong” password for all
    online accounts. Tips on creating a strong password are available at http://www.connectsafely.org/tips-to-
    create-and-manage-strong-passwords/. In conjunction with the password reset, we are also implementing
    additional account protections, including additional password length and complexity requirements.

•   Consulting the Identity Theft Protection Guide. Finally, please review the “Information about Identity Theft
    Protection” reference guide, included here, which describes additional steps that you may wish to take to help
    protect yourself.

For More Information

If you have any questions, please contact our customer service team by using the chat function at the bottom of
our website or by calling 855-313-6267. Once again, we sincerely regret that this incident occurred and any
inconvenience or concern it may cause.

Sincerely,

Michael Broukhim
Co-founder and Co-CEO
FabFitFun




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                                      Information about Identity Theft Protection
To help protect your identity, we are offering a complimentary membership in Experian’s® IdentityWorks®. This
product helps detect possible misuse of your personal information and provides you with superior identity
protection support focused on immediate identification and resolution of identity theft. Included with this service
are fraud resolution services that provide an Experian Fraud Resolution agent to work with you to investigate and
resolve each incident of fraud that occurred from the date of the incident (including, as appropriate, helping you
with contacting credit grantors to dispute charges and close accounts; assisting you in placing a freeze on your credit
file with the three major credit bureaus; and assisting you with contacting government agencies to help restore your
identity to its proper condition). While this Fraud Resolution assistance is immediately available to you without any
further action on your part, you can also activate the fraud detection tools available through enrolling in
IdentityWorks® at no cost to you. To enroll in these services, visit: www.experianidworks.com/credit by December
31, 2020, and use the following activation code: [ACTIVATION CODE]. You may also enroll over the phone by calling
(877) 525-6943 between the hours of 9:00 AM and 9:00 PM (Eastern Time), Monday through Friday and 11:00 AM
and 8:00 PM Saturday (excluding holidays). Please provide the following engagement number as proof of eligibility:
DB22544.

Once you enroll in IdentityWorks, you will have access to the following features:
•      Experian credit report at signup: See what information is associated with your credit file.
•      Active Surveillance Alerts: Monitors Experian, Equifax and Transunion files for indicators of fraud.
•      Fraud Resolution: Identity Theft Resolution agents are immediately available to help you address credit and
       non-credit related fraud.
•      ExtendCARE: You receive the same high-level of Fraud Resolution support even after your IdentityWorks
       membership has expired.
•      $1 Million Identity Theft Insurance 1: Provides coverage for certain costs and unauthorized electronic fund
       transfers

There are additional actions you can consider taking to reduce the chances of identity theft or fraud on your
account(s). Please refer to www.ExperianIDWorks.com/restoration for this information.
Review Accounts and Credit Reports: You can regularly review statements from your accounts and periodically
obtain your credit report from one or more of the national credit reporting companies. You may obtain a free copy
of your credit report online at www.annualcreditreport.com, by calling toll-free 1-877-322-8228, or by mailing an
Annual Credit Report Request Form (available at www.annualcreditreport.com) to: Annual Credit Report Request
Service, P.O. Box 105281, Atlanta, GA, 30348-5281. You may also purchase a copy of your credit report by contacting
one or more of the three national credit reporting agencies listed at the bottom of this page.
You should remain vigilant with respect to reviewing your account statements and credit reports, and you should
promptly report any suspicious activity or suspected identity theft to the proper law enforcement authorities,
including local law enforcement, your state’s attorney general, and/or the Federal Trade Commission (“FTC”). You
may contact the FTC or your state’s regulatory authority to obtain additional information about avoiding and
protection against identity theft: Federal Trade Commission, Consumer Response Center 600 Pennsylvania Avenue,
NW, Washington, DC 20580, 1-877-IDTHEFT (438-4338), www.ftc.gov/idtheft.
    For residents of Maryland: You may also obtain information about preventing and avoiding identity theft from the
    Maryland Office of the Attorney General: Maryland Office of the Attorney General, Consumer Protection Division,
    200 St. Paul Place, Baltimore, MD 21202, 1-888-743-0023, www.oag.state.md.us.
    For residents of New York: You may also obtain information about preventing and avoiding identity theft from the
    New York Attorney General’s Office: Office of the Attorney General, The Capitol, Albany, NY 12224-0341, 1-800-
    771-7755, https://ag.ny.gov/internet/privacy-and-identity-theft.


1
  Identity theft insurance is underwritten by insurance company subsidiaries or affiliates of American International Group, Inc.
(AIG). The description herein is a summary and intended for informational purposes only and does not include all terms,
conditions and exclusions of the policies described. Please refer to the actual policies for terms, conditions, and exclusions of
coverage. Coverage may not be available in all jurisdictions.
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 For residents of North Carolina: You may also obtain information about preventing and avoiding identity theft from
 North Carolina Attorney General’s Office: North Carolina Attorney General’s Office, Consumer Protection Division,
 9001 Mail Service Center, Raleigh, NC 27699-9001, 1-877-5-NO-SCAM, www.ncdoj.gov.
 For residents of Rhode Island: You may also obtain information about preventing and avoiding identity theft from
 the Rhode Island Office of the Attorney General: Rhode Island Office of the Attorney General, Consumer Protection
 Unit, 150 South Main Street, Providence, RI 02903, 401-274-4400, http://www.riag.ri.gov.
Security Freezes and Fraud Alerts: You have a right to place a security freeze on your credit report, which will
prohibit a consumer reporting agency from releasing information in your credit report without your express
authorization. The security freeze is designed to prevent credit, loans, and services from being approved in your
name without your consent. However, you should be aware that using a security freeze to take control over who
gets access to the personal and financial information in your credit report may delay, interfere with, or prohibit the
timely approval of any subsequent request or application you make regarding a new loan, credit, mortgage, or any
other account involving the extension of credit.
A security freeze does not apply to a person or entity, or its affiliates, or collection agencies acting on behalf of the
person or entity, with which you have an existing account that requests information in your credit report for the
purposes of reviewing or collecting the account. Reviewing the account includes activities related to account
maintenance, monitoring, credit line increases, and account upgrades and enhancements. Please contact the three
major credit reporting companies as specified below to find out more information about placing a security freeze on
your credit report.
As an alternative to a security freeze, you have the right to place an initial or extended fraud alert on your credit file
at no cost. An initial fraud alert is a 1-year alert that is placed on a consumer’s credit file. Upon seeing a fraud alert
display on a consumer’s credit file, a business is required to take steps to verify the consumer’s identity before
extending new credit. If you are a victim of identity theft, you are entitled to an extended fraud alert, which is a
fraud alert lasting 7 years. You can place a fraud alert on your credit report by contacting any of the three national
credit reporting agencies at the addresses or toll-free numbers listed at the bottom of this page.
Additional Information for Massachusetts Residents: Massachusetts law gives you the right to place a security
freeze on your consumer reports. By law, you have a right to obtain a police report relating to this incident, and if
you are the victim of identity theft, you also have the right to file a police report and obtain a copy of it. You may
request that a freeze be placed on your credit report, at no charge, by sending a request to a credit reporting agency
by certified mail, overnight mail or regular stamped mail to the address below. The following information should be
included when requesting a security freeze (documentation for you and your spouse must be submitted when
freezing a spouse’s credit report): full name, with middle initial and any suffixes; Social Security number, date of
birth (month, day and year); current address and previous addresses for the past five (5) years; and an incident
report or complaint with a law enforcement agency or the Department of Motor Vehicles. The request should also
include a copy of a government-issued identification card, such as a driver’s license, state or military ID card, and a
copy of a utility bill, bank or insurance statement. Each copy should be legible, display your name and current mailing
address, and the date of issue (statement dates must be recent).
Additional Information for New Mexico Residents: The federal Fair Credit Reporting Act (FCRA) promotes the
accuracy, fairness, and privacy of information in the files of consumer reporting agencies. Here is a summary of your
major rights under the FCRA:

    •    You have the right to be told if information in your file has been used against you;
    •    You have the right to receive a copy of your credit report and the right to ask for a credit score;
    •    You have the right to dispute incomplete or inaccurate information;
    •    You have the right to dispute inaccurate, incomplete, or unverifiable information;
    •    You have the right to have outdated negative information removed from your credit file;
    •    You have the right to limit access to your credit file;
    •    You have the right to limit “prescreened” offers of credit and insurance you get based on information in
         your credit report;
    •    You have the right to seek damages from violators; and
    •    You have the right to place a “security freeze” on your credit report.
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For    more    information,   including    information      about     additional rights,  you    can    visit
https://www.consumer.ftc.gov/articles/pdf-0096-fair-credit-reporting-act.pdf,
https://www.consumerfinance.gov/learnmore/, or write to: Consumer Financial Protection Bureau, 1700 G Street
N.W., Washington, DC 20552.
You can obtain more information about fraud alerts and credit freezes by contacting the FTC or one of the national
credit reporting agencies listed below.


                               National Credit Reporting Agencies Contact Information
               Equifax (www.equifax.com)               Experian (www.experian.com)      TransUnion
               General Contact:                        General Contact:                 (www.transunion.com)
               P.O. Box 740241, Atlanta, GA 30374      P.O. Box 2104, Allen, TX 75013   General Contact, Fraud Alerts
               800-685-1111                            888-397-3742                     and Security Freezes:
               Fraud Alerts and Security Freezes:      Fraud Alerts and Security        P.O. Box 2000, Chester, PA 19022
               P.O. Box 740256, Atlanta, GA 30374      Freezes:                         800-916-8800
                                                       P.O. Box 9556, Allen, TX 75013




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